Snapshot completed with IDR data
                                                                                        GOVERNMENT                      8/24/2021
                                                                                          EXHIBIT
Part B Referrals to Avanti Laboratories LLC                                          SA19-cr-905 - Ex. 2

The following table represents physicians listed in the claims data as referring patients to Avanti Laboratories LLC for services.
Acumen high-risk providers are highlighted.


 Referring       Prov First        Prov Last    Fed     Min From       Max Thru      # of      # of
  NPI #            Name              Name       Dist       Date           Date      Benes     Claims     Submitted         Paid Prov
1841335718       Christopher        Montoya     TXW       1/2/19        7/27/21      842       4,424    $7,904,752.67     $881,494.76
1                                                SC       1/2/19        8/11/20      460       2,014    $2,692,192.50     $567,955.82
1                                               TXW       1/2/19        7/27/21      358       1,042    $1,506,884.00     $314,876.51
1                                               TXW      1/9/19         7/26/21      269       1,139    $1,163,080.00     $229,236.13
1                                               TXW       5/9/19        4/30/21       69        830     $1,062,031.00     $173,713.75
1                                               NYN       1/2/19        6/30/21      267        683     $1,009,165.00     $190,881.81
1                                               TXW       4/9/19        7/22/21      137        577       $769,552.00     $143,010.29
1                                               TXS       1/2/19        7/27/21      198        466       $717,023.00     $129,719.63
1                                               TXW       1/3/19         5/7/21       61        318       $448,055.00      $76,294.43
1                                               TXE      5/17/19        7/29/21      162        309       $436,207.00      $88,535.62
1                                                SC      9/22/20        4/22/21      149        269       $387,629.00      $81,402.14
1                                               TXS       6/2/20        7/28/21      149        254       $364,532.00      $74,431.20
1                                               TXW       4/9/19        7/25/20      127        292       $313,817.00      $46,404.80
1                                                RI       1/8/19        3/19/21       46        192       $287,955.00      $50,499.50
1                                               TXW       5/1/19         6/2/21      106        499       $271,847.00      $55,641.65
1                                               TXS       1/2/19         7/2/19       89        167       $267,011.00      $40,173.77
1                                               TXW      9/19/19        6/17/21      132        477       $266,011.40      $57,317.93
1                                               TXW       1/2/19       10/17/19       37        120       $200,352.00      $17,847.89
1                                               TXW       1/9/19        7/26/21      152        258       $188,625.67      $36,135.06
1                                               NCW      3/13/19        4/16/20       80        170       $182,287.00      $35,498.84
1                                               TXW      10/3/19        3/27/20      293        383       $166,370.25      $43,641.10
1                                               TXW     10/23/19        2/12/20      115        276       $160,838.00      $38,241.69
1                                               GAS     11/19/19        9/21/20       44        118       $143,159.00      $28,413.17
1                                                SC      1/23/19        1/14/20      114        248       $142,469.00      $31,661.93
1                                               TXW      2/11/19       11/18/20       94         96       $138,761.00      $28,919.44


Referring NPI City & State Summary

                                 Min From      Max Thru     # of Refer     # of      # of
               City        ST       Date          Date        Provs       Benes     Claims      Submitted          Paid Prov
          San Antonio      TX      1/2/19       7/28/21         51        3,507     12,071    $15,667,636.99     $2,364,366.26
         Murrells Inlet    SC     1/2/19        8/11/20          5         646       2,435     $3,017,448.50       $635,258.83
             Laredo        TX      1/2/19       7/28/21          5         625       1,430     $2,127,788.00       $402,555.85
           Granbury        TX     5/17/19       7/29/21          1         162        309        $436,207.00        $88,535.62
            Bluffton       SC     9/22/20       4/22/21          1         149        269        $387,629.00        $81,402.14
            Houston        TX      1/4/19       7/30/21          6         225        285        $313,421.00        $60,425.68
        East Providence    RI      1/8/19       3/19/21          1          46        192        $287,955.00        $50,499.50
            Sweeny         TX      1/2/19        7/2/19          1          89        167        $267,011.00        $40,173.77
              Irving       TX      1/4/19      11/10/20          2          66        134        $191,186.00        $28,884.11
             Spring        TX     1/16/20       7/29/21          2          71        116        $161,230.00        $32,923.85
            Augusta        GA    11/19/19       9/21/20          1          44        118        $143,159.00        $28,413.17
          Fayetteville     NC     2/19/21        6/7/21          2          85        96         $138,336.00        $29,669.76
           Westbrook       ME      1/3/19       7/28/21          1         125        205        $119,854.00        $22,831.66
            Cranston       RI      1/3/19       7/27/21          1           4         47         $70,642.00        $11,096.16
           Cleveland       TX    12/27/19        5/4/20          1          25         98         $55,236.00        $12,055.80
           Burlington      NC     8/31/20       1/13/21          2          23         54         $54,758.00        $10,750.04
             McAllen       TX     11/4/19       3/11/20          2          44         68         $45,994.00        $11,177.49
            Calexico       CA     5/27/20       6/23/21          1          27         32         $44,126.00         $8,781.88
             Coppell       TX     6/25/20      11/18/20          1          33         34         $39,581.00         $6,961.29
              Keller       TX     9/14/20      11/17/20          1          18         24         $34,584.00         $7,108.38
         Fort Mohave       AZ     8/19/19       9/24/19          1           6         23         $24,774.00           $781.38
            Calabash       NC     5/15/19       3/10/20          3          25         45         $23,724.00         $1,221.52
            Webster        TX     6/14/21       7/28/21          1          17         18         $23,328.00         $4,695.84
             Schertz       TX     5/15/19       6/23/21          4          14         17         $20,165.00         $3,725.94
           Eagle Pass      TX      2/4/20      10/27/20          3          13         13         $18,733.00         $3,362.58
